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                    EXHIBIT J
Sheikh Sattam Ahmad Sabah Salem Al-Sabah — Panama Offshore Leaks Database
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                   Search for...                                                           Search



                  Sheikh Sattam Ahmad
                  Sabah Salem Al-Sabah
                      Officer

                  The Panama Papers data is current through 2015

                  Countries:
                  Kuwait

                  Source: Panama Papers


                  Connections
                   From                     Type              To

                     Sheikh Sattam          Shareholder          MES CAPITAL LIMITED
                   Ahmad Sabah              of
                   Salem Al-Sabah

                     Sheikh Sattam          Registered          Suite 3E; Eurolife Building; 1
                   Ahmad Sabah              at address        Corral Road; Gibraltar and 2 Rue de
                   Salem Al-Sabah                             Jargonnant 1207; Geneva;
                                                              Switzerland

                     Sheikh Sattam          Is similar by       Sheikh Sattam Ahmad Sabah
                   Ahmad Sabah Al-          name and          Salem Al-Sabah
                   Salem Al-Sabah           address




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                  Contact: panamadb.org@gmail.com




https://panamadb.org/officer/sheikh-sattam-ahmad-sabah-salem-al-sabah_12173472[6/19/2017 1:27:29 PM]
MES CAPITAL LIMITED — Panama Offshore Leaks Database
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                  MES CAPITAL LIMITED
                      Entity

                  Status: Active

                  The Panama Papers data is current through 2015

                  Countries:
                  Jersey

                  Source: Panama Papers

                  Address: ATLANTIQUE (BVI) LIMITED 3RD FLOOR; 37 ESPLANADE
                  CHANNEL ISLANDS ST. HELIER JE2 3QA; JERSEY UNITED KINGDOM

                  Jurisdiction: BVI (British Virgin Islands)


                  Connections
                    From                                                Type           To

                       FIRST NAMES GROUP (JERSEY)                       Intermediary     MES
                                                                        of             CAPITAL
                                                                                       LIMITED

                      SHEIKHA MARYAM NASER SABAH                        Shareholder      MES
                    ALNASER ALSABAH                                     of             CAPITAL
                                                                                       LIMITED

                       Sheikh Sattam Ahmad Sabah Salem                  Shareholder      MES
                    Al-Sabah                                            of             CAPITAL
                                                                                       LIMITED

                       Sheikha Eltaf Naser S N Alsabah                  Shareholder      MES
                                                                        of             CAPITAL
                                                                                       LIMITED




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                  Contact: panamadb.org@gmail.com




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